       Case 1:23-cv-00081-BLW Document 33-2 Filed 03/14/24 Page 1 of 29




Nicole Owens
Executive Director
Deborah A. Czuba, Idaho Bar No. 9648
Mary E. Spears, Indiana Bar No. 27353-49
Assistant Federal Defenders
Federal Defender Services of Idaho
702 W. Idaho Street, Suite 900
Boise, ID 83702
Telephone: (208) 331-5530
Facsimile: (208) 331-5559
ECF: Deborah_A_Czuba@fd.org
       Mary_Spears@fd.org

Attorneys for Plaintiff-Intervenor Thomas Eugene Creech

                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF IDAHO

 THOMAS EUGENE CREECH,                   )          CASE NO. 1:23-cv-0081-BLW
                                         )
               Plaintiff-Intervenor,     )
 v.                                      )          COMPLAINT-IN-
                                         )          INTERVENTION
 RAUL LABRADOR, Attorney General, )
 Idaho Attorney General’s Office, in his )
 official capacity, JAN M. BENNETTS,     )
 Ada County Prosecuting Attorney, in her )
 official capacity,                      )
                                         )
               Defendants.               )
                                         )
                                         )
                                         )
                                         )

 I.   Nature of the Action

      1.     Plaintiff-Intervenor Thomas Eugene Creech is a death-row inmate in

Idaho 1 who brings this Complaint-in-Intervention pursuant to 42 U.S.C. § 1983 for


1 Mr. Creech refers to Idaho as “Idaho,” “the State of Idaho,” and “the State.” Likewise,

throughout this complaint, Mr. Creech refers to the Defendants, variously, as “the
COMPLAINT-IN-INTERVENTION – Page 1
           Case 1:23-cv-00081-BLW Document 33-2 Filed 03/14/24 Page 2 of 29




violations and threatened violations of his constitutional rights in connection with

the State’s effort to execute him.

         2.     Mr. Creech hereby seeks injunctive and declaratory relief prohibiting

Defendants from seeking a death warrant or preparing to execute him until they are

capable of carrying out an execution.

 II.     Justiciable Case or Controversy

         3.     For the reasons set forth below, absent judicial intervention, Mr. Creech

has been and will continue to be tortured by the State of Idaho.

         4.     There is a real and justiciable case or controversy between the parties.

III.     Jurisdiction and Venue

         5.     This action arises under 42 U.S.C. § 1983 for violations of the Eighth

Amendment to the United States Constitution.

         6.     The Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 (federal

question), 1343 (civil rights violations), 2201(a) (declaratory relief), and 2202 (further

relief).

         7.     The Court has personal jurisdiction over the Defendants as they are

residents of the State of Idaho and are presently located in the State of Idaho, or are

appointed officials of the State of Idaho, or otherwise acting on behalf of the State of

Idaho.




Defendants,” “the State,” “the prosecution,” and other phrases, as appropriate. His
use of these expressions does not limit the scope of the claims, which are brought
against each and every named defendant.
COMPLAINT-IN-INTERVENTION – Page 2
       Case 1:23-cv-00081-BLW Document 33-2 Filed 03/14/24 Page 3 of 29




      8.     Venue in this Court is proper under 28 U.S.C. § 1391 because most of

the events giving rise to the claims – including Mr. Creech’s potential execution and

the procurement and maintenance of drugs and facilities to be used in that execution

– have occurred, are occurring, or will occur in the District of Idaho.

      9.     Venue is further proper because, upon information and belief, the

Defendants all reside in the District of Idaho.

IV.   Parties

      10.    Mr. Creech is a person within the jurisdiction of the State of Idaho.

      11.    Mr. Creech is an inmate under the supervision of the Idaho Department

of Correction (“IDOC”).

      12.    Mr. Creech is confined at the Idaho Maximum Security Institution

(“IMSI”).

      13.    Mr. Creech is under sentence of death.

      14.    As set forth in greater detail below, the Defendants are state officials

involved in the pursuit of death warrants for Mr. Creech.

      15.    Defendant Raúl Labrador is the Attorney General of the State of Idaho.

      16.    Defendant Jan M. Bennetts is the elected Ada County Prosecuting

Attorney.

      17.    As such, Ms. Bennetts is the head of the Ada County Prosecutor’s Office

(“ACPO”).

      18.    Upon information and belief, Mr. Creech and the Defendants are all

United States citizens.

COMPLAINT-IN-INTERVENTION – Page 3
         Case 1:23-cv-00081-BLW Document 33-2 Filed 03/14/24 Page 4 of 29




         19.   The Defendants are all officials of the State of Idaho.

         20.   All of the actions that have been and will be taken by the Defendants

towards executing Mr. Creech and any other actions at issue in this Complaint were

or will be taken under color of state law.

         21.   The Defendants are all sued in their official capacities.

 V.      General Factual Allegations

         22.   Mr. Creech incorporates each and every statement and allegation set

forth throughout this Complaint as if fully rewritten.

         23.   Mr. Creech was convicted of first-degree murder for the killing of David

Jensen and sentenced to death for that offense in Ada County District Court.

         24.   Mr. Creech’s murder conviction and death sentence were upheld on

direct appeal in 1983.

         25.   After Mr. Creech obtained federal habeas relief, he was resentenced to

death.

         26.   The new death sentence was upheld on direct appeal in 1998.

         27.   Idaho’s execution protocol was last amended in March of 2021.

         28.   The March 2021 execution protocol provides policies and procedures

relevant to lethal-injection executions.

         A. The State’s History of Seeking Ineffectual Death Warrants

         29.   The State has a history of seeking death warrants it cannot carry out.

         30.   That practice is amply demonstrated in the case of the named plaintiff

in this action, Mr. Gerald Pizzuto.

COMPLAINT-IN-INTERVENTION – Page 4
       Case 1:23-cv-00081-BLW Document 33-2 Filed 03/14/24 Page 5 of 29




      31.    On November 16, 2022, the Attorney General sought and obtained a

death warrant for Mr. Pizzuto. The warrant scheduled Mr. Pizzuto’s execution for

December 15, 2022.

      32.    Also on November 16, 2022, IDOC Director Josh Tewalt informed the

Office of the Attorney General that the Department of Corrections was “not in

possession of the chemicals necessary to carry out an execution by lethal injection.”

      33.    On November 30, 2022, fifteen days prior to Mr. Pizzuto’s execution,

Director Tewalt informed the Attorney General’s Office that the Department of

Corrections had been unable to obtain the necessary chemicals to carry out Mr.

Pizzuto’s execution. The Director stated that in his professional judgment it was “in

the best interest of justice to allow the death warrant to expire and stand down our

execution preparation.”

      34.    The November 2022 execution warrant for Mr. Pizzuto then was allowed

to expire.

      35.    On February 24, 2023, the State sought another death warrant for Mr.

Pizzuto.

      36.    The Attorney General admitted publicly at that point that the State still

did not possess the necessary chemicals to carry out an execution by lethal injection.

      37.    The February 2023 death warrant for Mr. Pizzuto was obviated by a

March 9, 2023, stay of execution, but upon information and belief the State would

have been obliged to allow it, too, to expire without carrying out an execution of Mr.

Pizzuto.

COMPLAINT-IN-INTERVENTION – Page 5
       Case 1:23-cv-00081-BLW Document 33-2 Filed 03/14/24 Page 6 of 29




      38.    The practice of obtaining ineffectual death warrants was also evident in

the case of another Idaho death row inmate, that of Mr. Erick Hall.

      39.    In June of 2018, the Idaho Supreme Court denied Mr. Hall’s appeal of

the denial of state post-conviction relief.

      40.    The State then obtained a death warrant for Mr. Hall for August 1, 2018,

notwithstanding that he had not even had the opportunity to begin the process of

seeking a writ of habeas corpus from this Court.

      41.    This Court promptly stayed the execution, noting that the State had not

even waited until federal habeas counsel had been appointed for Mr. Hall before

seeking to execute him.

      42.    The Court also found that the State acted unreasonably in seeking a

death warrant for Mr. Hall which it knew it would not be able to carry out.

      B. Multiple Death Warrants for Mr. Creech in the Months Prior to
         February 28, 2024

      43.    On October 10, 2023, the Supreme Court declined to grant certiorari in

Mr. Creech’s federal habeas case that followed his 1998 direct-appeal decision. See

Creech v. Richardson, 144 S. Ct. 291 (2023) (Mem.).

      44.    Two days later, on October 12, 2023, the ACPO sought and obtained a

death warrant for Mr. Creech.

      45.    The warrant scheduled Mr. Creech’s execution for November 8, 2023.

      46.    When the warrant was issued, Mr. Creech was taken from J-Block at

the Idaho Maximum Security Institution and moved to the Execution Unit in F-Block.



COMPLAINT-IN-INTERVENTION – Page 6
      Case 1:23-cv-00081-BLW Document 33-2 Filed 03/14/24 Page 7 of 29




The Execution Unit is a separate building that provides for complete isolation of the

condemned from other inmates.

      47.    Mr. Creech was asked to select witnesses for his execution.

      48.    Mr. Creech was asked to select a spiritual advisor for his execution.

      49.    Mr. Creech also was asked about the disposition of his property and his

remains.

      50.    Also on October 12, 2023, Josh Tewalt (“Director Tewalt”), Director of

the IDOC, informed the Ada County District Court by declaration that “execution by

lethal injection” was “available in this matter.”

      51.    On October 18, 2023, twenty-one days before his execution, the Idaho

Commission of Pardons and Parole notified the Federal Defender Services of Idaho

(“FDSI”), the ACPO, and the Attorney General of their intention to hold a

commutation hearing for Mr. Creech. Although the date of the hearing was not

scheduled at that time, the Commission notified the parties that it would take place

after November 8, 2023 – the then-scheduled execution date.

      52.    Idaho law states that a stay of execution “shall be granted . . . as part of

a commutation proceeding” of the kind granted to Mr. Creech. Idaho Code § 19-

2715(1).

      53.    FDSI contacted the Attorney General’s office asking if it would stipulate

to such a stay given the mandatory language of the statute, but counsel there

demurred, claiming the decision to pursue the death warrant was ACPO’s.




COMPLAINT-IN-INTERVENTION – Page 7
      Case 1:23-cv-00081-BLW Document 33-2 Filed 03/14/24 Page 8 of 29




      54.    At an emergency motions hearing in Mr. Creech’s method-of-execution

challenge case on October 18, 2023, the Attorney General’s office repeated this

statement on the record.

      55.    However, when the ACPO was contacted by FDSI regarding a

stipulation to staying the November 8th execution, Defendant Bennetts’s office

responded with a three-character email: “No.”

      56.    This required emergency litigation in Ada County District Court, which

on October 19, 2023, issued an order staying the execution until the conclusion of

commutation proceedings.

      57.    On November 17, 2023, the Idaho Statesman published a copy of a

purchase order it had obtained from the State via a public records request. That

purchase order indicated that on some redacted date the State had purchased fifteen

grams of pentobarbital for purposes of executing Mr. Creech.

      58.    A commutation hearing took place on January 19, 2024.

      59.    On January 29, 2024, the Commission of Pardons and Parole issued a 3-

3 decision, with three of the Commissioners recommending that commutation be

granted and that Mr. Creech’s death sentence be changed to a sentence of life in

prison without the possibility of parole and three Commissioners reaching the

opposite decision.

      60.    The Commission regarded the 3-3 decision as a denial of the

commutation petition.




COMPLAINT-IN-INTERVENTION – Page 8
       Case 1:23-cv-00081-BLW Document 33-2 Filed 03/14/24 Page 9 of 29




      61.    The next day, January 30, 2024, the ACPO sought and obtained another

death warrant for Mr. Creech. The warrant scheduled Mr. Creech’s execution for

February 28, 2024.

      62.    When the warrant was issued, Mr. Creech was once again taken from J-

Block at the Idaho Maximum Security Institution and moved back to the Execution

Unit in F-Block.

      63.    Mr. Creech was again asked to select witnesses for his execution. Mr.

Creech also was once more asked about the disposition of his property and his

remains. In particular, he was questioned about the procedure surrounding the

autopsy of his dead body.

      64.    Also on January 30, 2024, Director Tewalt informed the Ada County

District Court that “IDOC [was] in possession of lethal injection chemicals and

execution by lethal injection . . . [was] available in this matter.”

      65.    On February 7, 2024, Idaho Maximum Security Institution (“IMSI”)

warden Tim Richardson had Mr. Creech get into his wheelchair and wheeled Mr.

Creech from his cell in the Execution unit in F-Block to the execution chamber itself.

He was specifically shown where his wife, LeAnn Creech, would be sitting and

watching her husband be killed.

      66.    Mr. Creech continued to be housed in the Execution Unit in F-Block

until the morning of February 28, 2024.




COMPLAINT-IN-INTERVENTION – Page 9
      Case 1:23-cv-00081-BLW Document 33-2 Filed 03/14/24 Page 10 of 29




       C. The February 28, 2024, Botched Execution of Mr. Creech

       67.   At approximately 10:01 a.m. on February 28th, Mr. Creech was carried

into the execution chamber on a gurney, placed on the execution table, and restrained

with straps. Witnesses from the media, from the State, and from Mr. Creech’s legal

team and family were present to see what occurred next.

       68.   Mr. Creech looked over and saw his wife LeAnn sitting where he had

been told she would be. He mouthed two phrases: “I love you. I’m sorry.”

       69.   Three unidentified men in scrubs, white hoods covering their faces, blue

caps over the hoods, and rubber goggles over their eyes (the “execution team”) walked

in and checked to see if the restraints were too tight.

       70.   None of the members of the execution team identified themselves or

their qualifications at any point.

       71.   After applying EKG leads to Mr. Creech, members of the execution team

applied a blood pressure cuff to Mr. Creech’s right arm in an attempt to make a vein

visible.

       72.   Members of the execution team then applied some sort of dressing to Mr.

Creech’s right arm and palpated his right arm and hand.

       73.   After applying alcohol and a numbing agent to the inside of Mr. Creech’s

right elbow, the execution team attempted to establish intravenous (“IV”) access in

his right arm.

       74.   Each of these steps were announced to the witnesses by the leader of the

execution team as they occurred.

COMPLAINT-IN-INTERVENTION – Page 10
      Case 1:23-cv-00081-BLW Document 33-2 Filed 03/14/24 Page 11 of 29




      75.    The process described in Paragraphs 71 through 73 took approximately

four minutes.

      76.    After approximately ninety seconds of attempting, the leader of the

execution team announced that the IV attempt in Mr. Creech’s right arm had been

unsuccessful.

      77.    The execution team then repeated the process described in Paragraphs

70 through 72, but on Mr. Creech’s right hand instead of his elbow.

      78.    The process of preparing Mr. Creech’s right hand for IV insertion took

approximately two minutes.

      79.    After approximately two minutes of attempting, the leader of the

execution team announced that the IV attempt in Mr. Creech’s right hand had been

unsuccessful.

      80.    Next, after placing a tourniquet on Mr. Creech’s right forearm, the

execution team attempted once again to insert an IV into Mr. Creech’s right hand.

      81.    They repeated the process described in Paragraphs 71 through 73 on

Mr. Creech’s right hand again.

      82.    The second attempt to access a vein in Mr. Creech’s right hand took

approximately ninety seconds.

      83.    The second attempt to access a vein in Mr. Creech’s right hand was the

third IV attempt overall.

      84.    At this point Mr. Creech began to shift back and forth in apparent

discomfort, arching his feet and ankles.

COMPLAINT-IN-INTERVENTION – Page 11
      Case 1:23-cv-00081-BLW Document 33-2 Filed 03/14/24 Page 12 of 29




       85.    After approximately ninety seconds of attempting, the leader of the

execution team announced that the second IV attempt in Mr. Creech’s right hand had

been unsuccessful.

       86.    The execution team then moved on to Mr. Creech’s left arm. First, they

placed the blood pressure cuff on his left arm and stated that they were looking for a

suitable injection site.

       87.    They then repeated the process described in Paragraphs 71 through 73,

but on Mr. Creech’s left hand.

       88.    The process of preparing Mr. Creech’s left arm and hand for the fourth

IV insertion attempt took approximately three minutes.

       89.    After approximately two and a half minutes of attempting, the leader of

the execution team announced that the IV attempt in Mr. Creech’s left hand had been

unsuccessful.

       90.    During this attempt to insert an IV into Mr. Creech’s left hand, the

leader of the execution team leaned over and whispered something inaudible to one

of the other team members.

       91.    At this point, just after the leader announced that the fourth IV attempt

had failed, it was 10:28 a.m.

       92.    The execution team then moved on to Mr. Creech’s left leg. First, they

removed his left shoe and placed the blood pressure cuff on his lower left leg.

       93.    They then repeated the process described in Paragraphs 71 through 73,

but on Mr. Creech’s left ankle.

COMPLAINT-IN-INTERVENTION – Page 12
      Case 1:23-cv-00081-BLW Document 33-2 Filed 03/14/24 Page 13 of 29




      94.    The process of preparing Mr. Creech’s left ankle for the fifth IV insertion

attempt took approximately four minutes.

      95.    During the process of preparing Mr. Creech’s left ankle for attempted IV

insertion, he reached his hand out to where his wife was sitting. His wife placed her

hand on the glass separating her from her husband.

      96.    After approximately two minutes of attempting, the leader of the

execution team announced that the IV attempt in Mr. Creech’s left ankle had been

unsuccessful.

      97.    Next, the team moved to Mr. Creech’s right leg.

      98.    They repeated the process described in Paragraphs 71 through 73, but

on Mr. Creech’s right ankle.

      99.    The process of preparing Mr. Creech’s right ankle for the sixth IV

insertion attempt took approximately two minutes.

      100.   During this process, Mr. Creech tried to crane his head forward to see

what was being done.

      101.   As they attempted to secure vein access in Mr. Creech’s right ankle, the

execution team seemed to be frustrated and to be pushing or moving the cannula or

catheter around in Mr. Creech’s vein more vigorously.

      102.   After approximately five minutes of attempting, it became apparent to

witnesses that this sixth IV attempt, in Mr. Creech’s right ankle, had been

unsuccessful.




COMPLAINT-IN-INTERVENTION – Page 13
      Case 1:23-cv-00081-BLW Document 33-2 Filed 03/14/24 Page 14 of 29




      103.   The leader of the execution team did not announce this fact like he had

for the previous five attempts. Instead, the team simply disposed of the cannula or

catheter they were using to attempt to gain vein access.

      104.   At this point, just after the sixth IV attempt had failed, it was 10:42 a.m.

      105.   The execution team, still holding gauze to the wound in Mr. Creech’s

right ankle, began to talk among themselves in an agitated way.

      106.   At 10:45 a.m., the execution team moved back to Mr. Creech’s left leg.

      107.   They stopped talking audibly and the leader of the execution team no

longer announced each step of the process described above in Paragraphs 71 through

73.

      108.   By approximately 10:46 a.m., it became apparent that a seventh IV

insertion attempt had begun on Mr. Creech’s left ankle.

      109.   A member of the execution team directed Mr. Creech to relax his left leg.

      110.   It was not apparent to witnesses what the execution team did then, but

Mr. Creech responded by saying “ow” or “ouch.”

      111.   After approximately five and a half minutes of attempting, it became

apparent to witnesses that this seventh IV attempt, in Mr. Creech’s left ankle, had

been unsuccessful.

      112.   Again, the leader of the execution team did not announce this fact.

Instead, the team simply disposed of the cannula or catheter they were using to

attempt to gain vein access.




COMPLAINT-IN-INTERVENTION – Page 14
      Case 1:23-cv-00081-BLW Document 33-2 Filed 03/14/24 Page 15 of 29




      113.     By approximately 10:53 a.m., it became apparent that an eighth IV

insertion attempt had begun on Mr. Creech’s right ankle.

      114.     After approximately two minutes of attempting, it became apparent to

witnesses that this eighth IV attempt, in Mr. Creech’s right ankle, had been

unsuccessful.

      115.     Again, the leader of the execution team did not announce this fact.

Instead the team simply disposed of the cannula or catheter they were using to

attempt to gain vein access.

      116.     By 10:55 a.m., Mr. Creech was complaining of pain in his legs.

      117.     In the fifty-four minutes since he was brought into the execution

chamber, witnesses could see that the execution team had made at least eight

unsuccessful attempts to place IVs in order to execute Mr. Creech: one in his right

elbow, two in his right hand, one in his left hand, two in his left ankle, and two in his

right ankle.

      118.     At 10:57 a.m., IDOC staff present in the execution chamber, including

IMSI Warden Richardson and Director Tewalt, began speaking with each other.

      119.     The execution team left the chamber at this time.

      120.     At 10:58 a.m., Warden Richardson announced that the execution was

being halted.

      D. Director Tewalt’s Comments

      121.     Approximately an hour after calling off the execution, IDOC Director

Tewalt spoke to the media.

COMPLAINT-IN-INTERVENTION – Page 15
      Case 1:23-cv-00081-BLW Document 33-2 Filed 03/14/24 Page 16 of 29




      122.     Idaho’s March 2021 execution protocol contains an annex governing the

“preparation and administration” of execution chemicals.

      123.     That annex allows Director Tewalt to choose one of four lethal-injection

cocktails.

      124.     For Mr. Creech’s execution, Director Tewalt chose Method 4.

      125.     Method 4 provides for execution using pentobarbital alone.

      126.     As the annex lays out Method 4, IDOC is required to prepare three sets

of syringes with pentobarbital: Primary Set A, Backup Set B, and Backup Set C.

      127.     Under the annex, each set is to have two syringes, and each syringe is

to have 2.5 grams of pentobarbital.

      128.     Thus, the annex calls for 5 grams of pentobarbital in each set, and 15

grams total.

      129.     Prior to Mr. Creech’s execution, IDOC obtained 15 grams of

pentobarbital.

      130.     Approximately an hour after calling off the execution, Director Tewalt

spoke to the media.

      131.     At the press conference, Director Tewalt informed the media that IDOC

had prepared two of the three sets of syringes addressed by Method 4.

      132.     Thus, IDOC presumably placed in these two sets 10 grams of

pentobarbital.

      133.     Director Tewalt acknowledged that the pentobarbital placed in the two

sets of syringes is now unusable for a future execution attempt.

COMPLAINT-IN-INTERVENTION – Page 16
      Case 1:23-cv-00081-BLW Document 33-2 Filed 03/14/24 Page 17 of 29




      134.   On information and belief, the pentobarbital placed in the two sets of

syringes has been disposed of.

      135.   Director Tewalt asserted at the press conference that the 5 grams of

pentobarbital which had not been placed in syringes is still usable.

      136.   It is unknown whether any actions were taken with respect to those 5

grams that might raise questions about the reliability of the chemicals.

      137.   On information and belief, the State does not, as of the date of filing,

have possession of sufficient lethal-injection chemicals to carry out an execution.

      138.   Director Tewalt also explained to the media at the press conference that

he did not consider the execution to be a failure because the decision to call off the

procedure was the correct one under the circumstances.

      139.   As Director Tewalt noted, the execution team trains for scenarios in

which it is impossible to gain sufficient access to the inmate’s veins such that no

execution can be properly carried out.

      140.   Director Tewalt described how he continued to have the utmost

confidence in the capabilities of the execution team.

      141.   In Director Tewalt’s remarks to the media, he observed that when the

execution team leader left the execution chamber during the procedure, it was to

obtain smaller catheters.

      142.   Speaking to the Idaho House Judiciary Committee the next day,

February 29, 2024, Director Tewalt stated that the execution team had had some

difficulty gaining access to Mr. Creech’s veins but that the bigger problem was the

COMPLAINT-IN-INTERVENTION – Page 17
        Case 1:23-cv-00081-BLW Document 33-2 Filed 03/14/24 Page 18 of 29




quality of Mr. Creech’s veins themselves. He reported that the execution team was

unable to assure “sufficient quality” to sustain the IV lines.

        143.   Even when the execution team could establish an IV, Director Tewalt

said, Mr. Creech’s vein would collapse, making administration of the chemicals at

that location impossible.

        144.   Director Tewalt further said to legislators that the execution team had

performed a thorough physical examination of Mr. Creech the morning of February

28th with the intent of ensuring they would be able to establish IV lines.

        145.   In response to legislator questions, Director Tewalt stated that neither

the execution team (by pretending not to be able to find a vein) nor Mr. Creech (by

dehydrating himself) had in any way sabotaged the execution.

        146.   Director Tewalt was asked by Representative Bruce Skaug why the

execution team had not tried to inject lethal injection chemicals into Mr. Creech’s

neck.

        147.   Director Tewalt interpreted that as asking why the execution team had

not established a central line.

        148.   A central line involves IV placement directly into a major blood vessel

like the jugular vein or femoral artery.

        149.   Director Tewalt said that the execution team is qualified to establish

peripheral IV lines in appendages like arms, feet, legs, and hands, not a central line.

        150.   A central line is a surgical procedure, Director Tewalt said.




COMPLAINT-IN-INTERVENTION – Page 18
      Case 1:23-cv-00081-BLW Document 33-2 Filed 03/14/24 Page 19 of 29




      151.   Although there are lots of ways to establish IV access in emergency

medicine, Director Tewalt said, an execution is not emergency medicine being

performed with the intent to save a life.

      152.   Director Tewalt implied that using a central line to administer lethal

injection chemicals might constitute cruel and unusual punishment under the Eighth

Amendment.

      153.   Effective July 1, 2023, the firing squad was made a permissible method

of execution in Idaho, alongside lethal injection. Idaho Code § 19-2716(1).

      154.   Director Tewalt told legislators that the firing squad is currently

unavailable as a method of execution.

      155.   No current facility exists which can safely accommodate use of the firing

squad, Director Tewalt said, because the State has not yet found a suitable

architecture or engineering firm willing to design it.

      156.   Additionally, because Idaho’s execution protocol was last amended two

years before the firing squad was made a permissible option, it does not take into

account the existence of the firing squad.

      E. Mr. Creech’s Mental and Medical Condition

             a. Psychological Symptoms Following the Botched Execution

      157.   In the aftermath of the October 2023 and January 2024 death warrants

and the botched execution of February 28, 2024, Mr. Creech has had intense

psychological symptoms.




COMPLAINT-IN-INTERVENTION – Page 19
        Case 1:23-cv-00081-BLW Document 33-2 Filed 03/14/24 Page 20 of 29




        158.    Among many other symptoms, Mr. Creech is now experiencing

hallucinations. He sees shadows and people oozing through his cell door.

        159.    He feels the need to sit in front of a common window overlooking F-

Block, where the botched execution took place, and stare at it for nearly an hour at a

time.

        160.    He loses time when he does this and does not realize he is dissociating

from reality.

        161.    He cannot recall events from just the day before, even when they involve

his wife.

        162.    He also “remembers” things that are not real.

        163.    Mr. Creech experiences intrusive thoughts regarding his experiences,

especially those involving the trauma inflicted on his wife, even when he is trying not

to think of a future execution.

        164.    He also displays trauma-induced hypervigilance.

        165.    He isolates himself from others as a result.

        166.    Certain noises bring back traumatic memories for him now, both of the

botched execution and of prior trauma in his life.

        167.    For example, the sound of a guard brushing past his cell door somehow

triggers memories of being molested as a child.

        168.    He has an aversion to human touch after the botched execution.

        169.    He does not like to be surprised. Change irritates him now in a way it

did not before the botched execution.

COMPLAINT-IN-INTERVENTION – Page 20
      Case 1:23-cv-00081-BLW Document 33-2 Filed 03/14/24 Page 21 of 29




       170.   Mr. Creech’s sleep has been greatly disturbed. He often does not sleep

and when he does he frequently experiences nightmares of being back on the

execution table.

       171.   On other nights his nightmares involve re-imagining his wife’s face in

the window as she watched the State try to kill him.

       172.   The puncture wounds left on Mr. Creech’s body after the botched

execution were circled with marker in order for them to be photographed and

identified.

       173.   These marks greatly distress Mr. Creech.

       174.   He spent a week scouring his body to try to remove them.

       175.   Mr. Creech no longer knows if he is alive or dead.

       176.   He is unconvinced that anything is actually real.

       177.   Mr. Creech is terrified of what is to come.

              b. Medical Conditions and Contraindications for Future Lethal
                 Injection Attempts

       178.   After the failed execution attempt, Mr. Creech had nine or ten visible

puncture wounds in various locations on his body.

       179.   The attempts to access his veins were vigorous and caused him pain and

discomfort.

       180.   He also has a significantly decreased appetite since the botched

execution and has been losing weight.

       181.   He has been experiencing poor balance and a loss of equilibrium. The

night of February 28, 2024, he fell and hit his head.
COMPLAINT-IN-INTERVENTION – Page 21
        Case 1:23-cv-00081-BLW Document 33-2 Filed 03/14/24 Page 22 of 29




        182.    Mr. Creech has a history for the last five years of edema in his legs. This

edema, which is a swelling caused by the trapping of excess water, has ranged in

severity over time.

        183.    Edema can complicate IV access.

        184.    Mr. Creech has a history of vascular disease as well. Specifically, in

September 2022 a large vascular aneurysm was found in Mr. Creech’s abdomen.

        185.    An aneurysm is a weak section of an artery wall. Pressure from inside

the artery causes the weakened area to bulge out beyond the normal width of the

blood vessel.

        186.    An abdominal aortic aneurysm is an aneurysm in the lower part of the

aorta, the large artery that runs through the torso.

        187.    Mr. Creech’s abdominal aortic aneurysm measured 6.1 by 6.3

centimeters, with a craniocaudal length of 8.5 centimeters.

        188.    Mr. Creech is also elderly.

        189.    At 73 as of the date of filing, he is older than the last twenty-nine

inmates executed in the United States.

        190.    Age is a factor that also complicates vein access.

        191.    Mr. Creech’s veins are of poor quality.

        192.    Every failed attempt to gain IV access to a person’s vein damages the

blood vessel to some extent.

        193.    This damage can make it more difficult to access the same vein at a later

date.

COMPLAINT-IN-INTERVENTION – Page 22
        Case 1:23-cv-00081-BLW Document 33-2 Filed 03/14/24 Page 23 of 29




        194.    Some of this damage may heal itself over time, but given the quality of

Mr. Creech’s veins it is impossible to say when or if that will occur.

        195.    The damage to Mr. Creech’s veins that was caused by the February 28,

2024, execution attempt thus may be permanent.

        196.    Mr. Creech did not attempt to dehydrate himself prior to the execution.

        197.    To the contrary, Mr. Creech drank and ate normally prior to the

execution.

        198.    IDOC Director Tewalt acknowledged as much in his February 29, 2024,

statements to the Idaho legislature.

        199.    Even if Mr. Creech had attempted to dehydrate himself, dehydration

would not have caused the difficulty faced by the execution team on February 28th.

        200.    Before the execution attempt, IDOC medical staff gave Mr. Creech

several doses of Ativan (lorazepam).

        201.    Ativan is a benzodiazepine used, among other things, to treat anxiety.

        202.    Anxiety constricts blood vessels, but Ativan would combat that

constriction.

        203.    Catheters used to establish IV access come in various sizes, called

“gauges.”

        204.    It is unclear what gauge or gauges of catheters were used by the

execution team to attempt to establish IV access to Mr. Creech’s body on February

28th.




COMPLAINT-IN-INTERVENTION – Page 23
      Case 1:23-cv-00081-BLW Document 33-2 Filed 03/14/24 Page 24 of 29




       205.   Different-sized catheters would have different chances of success,

depending on the quality of each individual blood vessel attempted.

       206.   Different individuals also might be successful gaining access with a

particular gauge of catheter while another individual might be unsuccessful using

that same gauge of catheter.

       207.   In the botched execution of February 28, 2024, the execution team

experimented with different gauges of catheters to use on Mr. Creech.

       208.   All of these attempts were unsuccessful.

       209.   IV access is a skill that must be practiced in order for an individual to

retain their ability. It is a “use or lose” skill.

       210.   Idaho imposes extreme restrictions on what can be known about the

members of the execution/IV access team and their qualifications.

       211.   The full qualifications of each of the three execution team members in

the room on February 28th are therefore unknown.

       212.   Precisely how much practice each of the execution team members has or

has had in attempting and establishing IV access in their day-to-day life is also

unknown.

       213.   In Idaho, the execution team is required to establish IV access in front

of witnesses. This is not the case in other jurisdictions, such as (for instance)

Alabama.




COMPLAINT-IN-INTERVENTION – Page 24
         Case 1:23-cv-00081-BLW Document 33-2 Filed 03/14/24 Page 25 of 29




         214.   The botched execution of February 28, 2024, has become both national 2

and international news. 3

         215.   Public scrutiny and stress affect an individual’s ability to establish IV

access.

         F. Future Death Warrants

         216.   Upon information and belief, the Attorney General takes the position

that he is legally required to continue to seek and re-seek execution warrants for

death row inmates who, like Mr. Creech, have no stay of execution in place.

         217.   Upon information and belief, the ACPO and Defendant Bennetts share

this position.

         218.   Also, upon information and belief, the Attorney General and his office

communicate with the ACPO about when to seek death warrants in Ada County

cases.


2 See, e.g., N’Dea Yancey-Bragg & Emily DeLetter, Idaho Delays Execution of

Thomas Eugene Creech After “Botched” Lethal Injection Attempts, USA Today (Feb.
29, 2024); Mike Baker, A Botched Execution in Idaho Renews Scrutiny of Lethal
Injection, N.Y. Times (Feb.28, 2024).
3 See, e.g., Arret in Extremis de l’Execution par Injection Letale d’un Condamne aux

Etats-Unis, Le Temps (Feb. 29, 2024), available at
https://www.letemps.ch/monde/arret-in-extremis-de-l-execution-par-injection-letale-
d-un-condamne-aux-etats-unis (Switzerland); Keine Vene Gefunden – Hinrichtung
in Den USA Nach Einer Stunde Abgerochen, Welt (Feb. 29, 2024), available at
https://www.welt.de/vermischtes/weltgeschehen/article250328372/Idaho-Keine-
Vene-gefunden-Hinrichtung-in-den-USA-abgebrochen.html (Germany); Etats-Unis:
l’Execution d’un Condamne a Mort Suspendue in Extremis, Le Figaro (Feb. 28,
2024), available at https://www.lefigaro.fr/international/etats-unis-arret-in-
extremis-de-l-execution-d-un-condamne-a-mort-20240228 (France); Max Matza,
Thomas Creech: Idaho Execution Delayed After Failed Lethal Injection, BBC News
(Feb. 28, 2024), available at https://www.bbc.com/news/world-us-canada-68431330
(England).
COMPLAINT-IN-INTERVENTION – Page 25
      Case 1:23-cv-00081-BLW Document 33-2 Filed 03/14/24 Page 26 of 29




       219.   Speaking to the House Judiciary Committee on February 29, 2024,

IDOC Director Tewalt stated that there are “discussions ongoing” regarding when

and whether to seek another death warrant for Mr. Creech.

VI.    Violation of Mr. Creech’s rights under the Eighth Amendment to be
       free from cruel and unusual punishment.

       220.   Mr. Creech repeats and realleges Paragraphs 1 through 219 as though

fully set forth herein.

       221.   The Eighth Amendment prohibits “cruel and unusual punishments.”

U.S. Const. Amend. VIII.

       222.   The U.S. Supreme Court has previously described punishments to be

unconstitutionally cruel “when they involve torture or a lingering death,” In re

Kemmler, 136 U.S. 436, 447 (1890), or when they “involve the unnecessary and

wanton infliction of pain,” Rhodes v. Chapman, 452 U.S. 337, 346 (1981). “Among

unnecessary and wanton inflictions of pain are those that are totally without

penological justification.” Id. In determining whether this is the case, courts look to

whether the officials involved displayed “deliberate indifference” to the plaintiff’s

physical or mental health. See Hudson v. McMillian, 503 U.S. 1, 8 (1992). That state

of mind may be inferred from the fact that the risk of harm is obvious. Farmer v.

Brennan, 511 U.S. 825, 842 (1994).

       223.   The Eighth Amendment further forbids “forms of punishment that

intensified the sentence of death with a (cruel) superadd[ition] of terror, pain, or

disgrace.” Bucklew v. Precythe, 139 S. Ct. 1112, 1124 (2019).



COMPLAINT-IN-INTERVENTION – Page 26
      Case 1:23-cv-00081-BLW Document 33-2 Filed 03/14/24 Page 27 of 29




      224.   The U.S. Supreme Court has also stated that “a series of abortive

attempts” at execution raise an Eighth Amendment claim. Baze v. Rees, 553 U.S. 35,

50 (2008); see also Glass v. Louisiana, 471 U.S. 1080, 1085-86 (1985).

      225.   The botched execution of February 28, 2024, was torturous, both

profoundly psychologically traumatic and physically painful to Mr. Creech.

      226.   The State also does not currently have sufficient lethal injection

chemicals to carry out an execution of anyone, including Mr. Creech.

      227.   Even if it did have a sufficient amount of those chemicals, there is no

reason to believe the State would be any more successful at administering them to

Mr. Creech now than in its failed attempt on February 28th.

      228.   The damage the botched execution inflicted on Mr. Creech’s veins is still

in place.

      229.   There is no indication that in a fresh attempt the State would task

different or more skilled or qualified individuals to be part of the execution team

attempting to access Mr. Creech’s veins.

      230.   If the State did task different individuals with attempting again to

execute Mr. Creech via lethal injection, he would have no way of knowing that was

the case.

      231.   And the difficulties inherent in establishing IV access in a situation

subject to intense public scrutiny, where the execution team is being watched by both

live witnesses and news readers all over the world, are greater now than they were

the morning of February 28th.

COMPLAINT-IN-INTERVENTION – Page 27
      Case 1:23-cv-00081-BLW Document 33-2 Filed 03/14/24 Page 28 of 29




      232.    The vein-access issues that led to Mr. Creech’s execution being botched

were not a surprise to the State. Rather, they were foreseeable – Mr. Creech even

warned the State of them ahead of time. See, e.g., Creech v. Tewalt, No. 1:20-cv-00114

(D. Idaho), Dkt. 123-1 at 10-11 (filed Feb. 6, 2024).

      233.    The State thus knew or should have known it would not be able to

execute Mr. Creech by lethal injection.

      234.    But even given that warning, the State still could not complete that

execution.

      235.    Lethal injection execution thus is not available in the State of Idaho for

Mr. Creech.

      236.    Additionally, because the State has no facility that can accommodate it

and no protocol that provides policies and procedures for implementing it, the firing

squad is likewise not an available method to use to execute Mr. Creech.

      237.    Idaho therefore currently has no method available which the State can

constitutionally implement to execute Mr. Creech.

      238.    Yet the State has demonstrated its willingness to continually seek and

attempt to carry out death warrants when there is no available method of execution

and/or the State is barred from attempting to carry an execution out.

      239.    For the State to seek a death warrant for Mr. Creech when it cannot

carry out his death sentence is a harm so obvious that it would constitute deliberate

indifference to his physical and mental health, in violation of the Eighth Amendment.




COMPLAINT-IN-INTERVENTION – Page 28
       Case 1:23-cv-00081-BLW Document 33-2 Filed 03/14/24 Page 29 of 29




VII.   Prayer for Relief

       240.   In light of the above, Mr. Creech respectfully requests that the Court:

          a) Enjoin the Defendants from seeking any death warrants until they can

              establish to the Court that they have secured and are capable of carrying

              out a valid method of execution that comports with constitutional

              requirements.

          b) Enjoin the Defendants from undertaking any execution preparations

              until they can establish to the Court that they have secured and are

              capable of carrying out a valid method of execution that comports with

              constitutional requirements.

          c) Grant any such other relief that is just and proper.

       DATED this 14th day of March 2024.

                                               /s/ Mary E. Spears
                                               Mary E. Spears
                                               Deborah A. Czuba
                                               Federal Defender Services of Idaho




COMPLAINT-IN-INTERVENTION – Page 29
